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                        UNITED STATES DISTRICT COURT
                                       District of Minnesota



Armon Nahal                                        JUDGMENT IN A CIVIL CASE
                                 Plaintiff(s),
v.                                                       Case Number: 18-cv-00631-DWF-
                                                                      KMM
Allina Health System

                                 Defendant(s).


☐ Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried
   and the jury has rendered its verdict.

☒ Decision by Court. This action came to trial or hearing before the Court. The issues have
  been tried or heard and a decision has been rendered.

     IT IS ORDERED AND ADJUDGED THAT:

         1.     Plaintiff’s objections (Doc. No. [132]) to Magistrate Judge Katherine M.

Menendez’s November 18, 2019 Report and Recommendation are OVERRULED.

         2.     Magistrate Judge Katherine M. Menendez’s November 18, 2019 Report

and Recommendation (Doc. No. [127]) is ADOPTED.

         3.     Allina’s Motion for Summary Judgment (Doc. No. [98]) is GRANTED;

and

         4.     This action is DISMISSED WITH PREJUDICE.



      Date: 2/24/2020                                      KATE M. FOGARTY, CLERK

                                                                  s/M. Giorgini
                                                       (By) M. Giorgini, Deputy Clerk
